Case 2:24-cv-04702-MCS-PD Document 48-36 Filed 06/24/24 Page 1 of 2 Page ID #:422




                            Exhibit 28
                  Declaration of Eden Shemuelian
Case 2:24-cv-04702-MCS-PD Document 48-36 Filed 06/24/24 Page 2 of 2 Page ID #:423




  From: Building Ops <                            >
  Date: Tue, Jun 11, 2024 at 9:00 AM
  Subject: Building Operations - Update
  To: Building Ops <                          >


  Dear UCLA Law Community,

  There were demonstrations in Shapiro Courtyard last night, but at present, there are
  none. Although there is still some cleanup underway, the building is open without
  restrictions.

  We will continue to monitor the situation and will inform you should disruptions impact
  access to law school buildings. Campus-level operations updates are currently being
  communicated via Bruins Safe Online.

  If you have questions, please reach out to our Building Operations team
  at                           .

  Building Operations




                        SHEMUELIAN DECLARATION EXHIBIT 28
                                       88
